
894 N.E.2d 511 (2008)
In the Matter of Heather L. CLARK-REYNOLDS, Respondent.
No. 98S00-0801-DI-19.
Supreme Court of Indiana.
February 4, 2008.

ORDER DISMISSING ORDER TO SHOW CAUSE AND DIRECTING THE RESPONDENT TO PAY COSTS
On January 25, 2008, this Court issued an "Order to Show Cause," directing Respondent to show cause why Respondent should not be suspended from the practice of law in this State for failing to respond to the Disciplinary Commission's demand for a response to a grievance filed against Respondent. On January 30, 2008, the Commission filed a motion to dismiss the "Order to Show Cause," stating that Respondent complied with the Commission's demands. The Commission also moves this Court to impose costs against Respondent pursuant to Indiana Admission and Discipline Rule 23(10)(f)(5).
The Court, being duly advised, now DISMISSES as moot the "Order to Show Cause" issued in this matter.
Pursuant to Admission and Discipline Rule 23(10)(f)(5), the Court ORDERS Respondent to reimburse the Disciplinary Commission $521.86 for the costs of prosecuting this proceeding. A check in this amount should be made payable to the Indiana Supreme Court Disciplinary Commission and sent or delivered to the Commission at 30 South Meridian Street, Suite 850, Indianapolis, Indiana 46204. Pursuant to Admission and Discipline Rule 23(10)(f)(5) and Rule 2(h), Respondent's failure to pay these costs by the due date of the next annual registration fee (October 1) will subject Respondent to an order of suspension from the practice of law.
The Clerk of this Court is directed to forward notice of this Order to the Respondent or Respondent's attorney and to the Indiana Supreme Court Disciplinary Commission.
